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                      UN ITE D STATE S COU RT OF APPE ALS FOR THE SE COND CIRCU IT
         Thurgood Marsh all U.S. Courthouse ~ Foley Squa re , N ew Yo rk, NY 10007 T elephone: 212-857-8500

                                                      MOTION INFORMATlON STATEMENT

Docket Numbcr(s): _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ - --                                - - - -~C:!!Jap~u!.\!
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Motion for:

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Set fort below precise, complete statement of relief sought:

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MOVINRARTY:
         ~    ~     ntiff
                                rJ/Wf     ~/l81D
                                           Defendant
                                                                               OPPOSING PARTY:

         ~        ppellant/Petitione/)_    Appellee/Respondent

MOVI NG ATTORNEY:                   ,KJJrJfrld... ctA-&rb                     oPPos1NG ATTORN EY =_ __                    _ _ _ _ _ _ _ _ __
                                               [name of attorney, with firm, address, phone number and e-mail)

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   Of;f2Hvt/116, /Vi½,, //J5[J-                                                   ONe. &T. /WJR.&l~/12/f, N.f •C:,N.y';/0007
Court-Jutlgt:/Agency appealed from: - --      -     - -- --        -   - - - - -- - - -- - - - - - - - --                                  -   - --        -   --

Please check appropriate boxes:                                                FOR EMERGE CY MOTIONS, MOTIONS FOR STAYS AND
                                                                               INJ UNCTIONS PE DING APPEAL:
Has mo~       n..sx{~opposing counsel (required by Local Rule 27. I):          Has request for relief been made below?               D ves D No
      ~        Yesl J No (explain): _ _ _ _ _ _ _ __ _ _ _                     Has this relief been previously sought in this Court? O ves 0 No
                                                                               Requested return date and explanation of emergency:_ _ __ _ __ _
Opposin~unsel's position on motio1F--, /
       LJ Unopposed O opposed l_¥on 't Know
Does opposing counsel intend to le a response:
        O     ves [ }o




Is oral argument on motion requested?             0   Yes     ~    (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?             0   Y e s ~ If yes, enter date:_ __ __ _ _ _ _ _ _ _ _ __ _ __ _ __

S ig na~c q.i:J\1oving, Attorney:                         /    /
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    - 1 ~_ __ _ __                          Date:   2-/Ju f 1
                                                      f       ,               Service by: D cM/ECF            D    Other [Attach proof of service]



Form T-1080 (rev. 12-13)
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                      UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
         Thurgood Marshall U.S. Courthouse 4Q Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT

Docket Number(s): _ _ _ _ _ __ _ __ _ _ _ _ _ _ _ - -                             -   -    - - -~Ccl!laPl!.!t~io'!!.n.ufu~s.!e..e~sh!.!,!o.!.!rt. !.!ti.!.!.tle!e.J)_ __ _ _ __ _ _

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MOYINIT,~!~~            Qo N                Q~;!~ 1'o
         ~pellant/Petitioner                Appellee/Respondent

MOVl NG ATTORNEY:            /!nrJrrf""d.      OCA8 i'o                      oPPos,NG ATTORNEY: _ _ _ _ _ _ _ _ _ _ _ __
                                               (name ofanorney, with firm, address, phone number and e-mail]

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Court-Judge/Agency appealed f r o m : - - - - - - - - - - - - - --                    -    - -- - - - - - - -- - - - - - - - - -

Please check appropriate boxes:                                              FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                             INJlJNCTJONS PENDING APPEAL:
Has mO'pl!ll..!)Ptifµ:d, opposing counsel (required by Local Rule 27 .1 ):
       ~ YesLJ No (explain):_ _ _ _ _ _ _ _ _ _ __
                                                                             Has request for relief been made below?
                                                                             Has this relief been previously sought in this Court?
                                                                                                                                      Yes D No
                                                                                                                                      Yes   No
                                                                             Requested return date and explanation of emergency: _ _ _ _ _ _ __
                                                                                                                                                         B             D
Opposinp..£;>unsel's position on motio~     ./.
       LJ Unopposed O opposed ~             on 't Know
Does opposing counsel intend to file a response:
        D Yes D       o ~ ' t Know




Is oral argument on motion requested?           O     ~ (requests for oral
                                                    Yes

Has argument date of appeal been set?           D Yes ~ lfyes, enter date:
Signaturo/9f. Mm~ttor,n ey:
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                                                                      7      Service by:   D cM/ECF                D Other [Attach proofof service]

Form T-1080 (rev. 12-13)
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                             Ronald Ocasio
                                94-A-5445
                         Green Haven Corr. Fae.
                              594 Route 216
                          Stormville, NY 12582

                              March 14, 2019

Clerk's Office
U.S. COURT OF APPEALS
FOR 2nd CIRCUIT
U.S. COURTHOUSE
40 Foley Square
New York, NY 10007

     In RE: Ocasio v. United States
            Docket No. 19-487
     Sub: Curing Defective Filing


Dear Clerk of the Court:

     On March 6, 2019 I received and signed for the 0 Notice of
Defective Filingn on the above Docket Number, dated February
27, 2019.
     Enclosed please find an original and ✓ (2) two copies of
the application to file a successive petition attach with the
certificate of service. Furthermore, I have enclosed an
original of supporting declaration or Ronald Ocasio, attach
with certificate of service.
     Petitioner has cured the defective filing in a timely
manner, no later than the March 20, 2019 deadline.
     I, thank you for your attention and consideration in this
matt er, _I remain.


                                          Respectfully,



                                          Ronald Ocasio



c.c. file:
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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT

           MOTION FOR AN ORDER AUTHORIZING THE DISTRICT COURT     :::::
      TO CONSIDER A SUCCESSIVE OR SECOND HABEAS CORPUS APPLICATION                                                        :1J
                     PURSUANT to 28 U.S.C. §§ 2244 (b), 2254   .~,. -
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                                                                                                                          Pl
                      BY A PRISONER IN STATE CUSTODY
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                                                     PRISONER NUMBER:




                                  Instructions-Read Carefully

(1)    This motion must be legibly handwritten or typewritten and signed by the movant under
       penalty of perjury. All documents must be on 8½ x 11 inch paper; the Court will not
       accept other paper sizes. Any false statements of a material fact may serve as the basis
       for prosecution and conviction for perjury.


(2)    All questions must be answered concisely in the proper space on the form.


(3)    Movant seeking leave to file a second or successive petiti,;m is required to use this form.
       In capital cases only, the use of this form is optional.


(4)--M0vant may-use~additional-pages onl3/-to-explain additional grounds-for relie£and.set
      forth additional facts and documents supporting any alleged grounds. Separate petitions,
      motions, briefs, arguments, etc. should not be submitted.                         -


(5)    In capital cases only, the use of this form is optional, and separate. petitions, motions,
       briefs, arguments, may be submitted.




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(6)   Movant must show in the motion to the Court of Appeals that the claim to be presented in
      a second or successive habeas corpus application was not presented in a prior application and
      that

      (1)    the claim relies on a new rule of constitutional law, made retroactive to cases on
             collateral review by the Supreme Court, that was previously unavailable; or

      (2)    (a)     the facts underlying the claim could not have been discovered previously
                     through the exercise of due diligence; and

             (b)     those facts, if proven and viewed in light of the evidence as a whole, would
                     be sufficient to establish by clear and convincing evidence that, but for
                     constitutional error, no reasonable fact finder would have found the applicant
                     guiltyofthe underlying offense.
                     28 U.S.C. § 2244 (b)


(7)   Send the completed motion, the original and two copies, to:

             Clerk of Court
             United States Court of Appeals for the Second Circuit
             Thurgood Marshall United States Court House       1

             40 Foley Square
             New York, New York 10007




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                                                  MOTION

 1.       (a)    Name and location of court which entered the jud8!-llent of conviction under attack
                              V   I   s ' 'T) s
                                            I ~I    q         Ccvf!._:T/ g ' [). N   t   y'                      .
          (b)    Case number _ _~9~5_C_/L.~Cj_lf_9-_..,.Q?=-·     IJ~f:>~0------------
2.        Date of judgment of conviction     _J_·_v_l     _J-0__,1,__I9_9_t'
                                                     L.,_,(              ____________
3.        Length of sentence L, hS     +Lf5YILS Sentencing Judge 7)Ef;c{-Jft(/                II   81/ ns
4.




5.    Have you ever filed a post-conviction petition, application, or motion for collateral relief
      in an~peral court related to this conviction and sentence?
      Yes~ NoO
      If"yes", how many times?        J              (if more than one, complete 6 and 7 below as
      necessary)
      (a) Name of court                                                     £,       D, tJ. ,
      (b) Case number _ _--=:......=......,......::::........:...--;!...I...L..-'""'~::....:...!..;~---'---------
      (c) Nature of p r o c e e d i n g _ ~ - - - - - ' - - - = ~ - - - - - - - - - - - - -




      (e) lid ru re~v~ evidentiary hearing on your petition, application, or motion?
      Yes
      (f) Result
                 No~ .--,. .
                     [XN ff Of             A J Av3usr
                                              1,,
                                                      7,dV /;)_                                    .
      (g) Date of result_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

6.    As to any second federal petition, application, or motion, give the same information:
      (a)Nameofcourt        U,S.'7),,ST(2.JC[ ·oup_::i- £,1:\N..·,                   .
      (b) Case number          0~ C..\\f I o :- l                  ltA
      '




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     (d) Grounds raised (list all grounds; use extra pages if necessary) _·_ _ _ _ _ __




     (e) 9k4'ou r ~ an evidentiary hearing on your petition, application, or motion?
     ~LJ~~                      I                        .                         .
     (t) Result    1)e N l<2.0\                            •.            .

     (g) Date of result      UAJvAf!__ Y J-5 ,dJ/ 3 ·
7.


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     (d) Grounds raised (list all grounds; use extra pages if necessary)_ _ _ _ _ _ __




     (e) Ip.d..rou r ~ an evidentiary hearing on your petition, application, or motion?
     YesLJ NoL::J ,          I J                                    .
     (t) Result           LY!..
                           N I eti\.    .                         _

     (g) Date ofresult        h1-1-y: €f , d'O I q
8.   Did you appeal the result of any action taken on your federal petition, application, or
     motion? (Use extra pages to   rellj ffional petitions if n~sa,y)
     (1) First petition, etc. No ~ e s . Appeal No. C.Ef41 (Pfi~  n         or:          ts,
                                                                                            ·.       .
                                                                             ~ff,l?JJ-(fl /,41( 7Jf.NieA
     (2) Second petition, etc. No      Yes      Appeal No.                       d ~6(I)       MA
     (3) Third petition, etc. No     Yes   D  Appeal N o . _ _ _ _ _ _                    lb(;;/ I~




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9,    If you did not appeal from the adverse action on any petition, application, or motion,
      explain briefly why you did not: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




10.   State concisely every ground on which you now claim that you are being held unlawfully.
      Summarize briefly the facts supporting each ground.

      A.     Ground one:   f tr   u .S.~. S (~54 ts No, fr C(2./M~ oF-
                   \[to \~rJ e..




            Was this clai~ed in a prior federal petition, application, or motion?
            YesO No~                            .

            Does this claim rely on a "new rule of constitutional law?" Yes    0 D   No
            If "yes," state the new rµle of constitut_fonal law (give case name .and citation):
           ,..         SESS;ON            V,~,M~~

            Does this claim rely on "newly discovered evidence?" Yes      D   No    B . . .-
            lf "yes," briefly describe the newly discovered evidence, attach a copy (if
            available), state when you obtained it, and why it was not previously available to
            you;




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       B.




             Was this clai~ed in a prior federal petition, application, or motion?
             YesO No~                                                          .

            Does this claim rely on a "new rule of constitutional law?" Yes ~ o            D
            If "yes," state the new; ruly o,f 9onsti~tional law (give case name and citation):
                         Si'SSI\JN V,         lW1~


            Does this claim rely on "newly discovered evidence?" Yes      D W  No
            If "yes," briefly describe the newly discovered evidence, attach a copy (if
            available), state when you obtained it, and why it was not previously available to
            you




            [Additional grounds and facts and documents supporting any alleged grounds
            may be set forth on extra pages if necessary)

11.   Do you have any motion or ~ l now pending in any court as to the judgment now
      under attack? YesD No-L~        ·                                 ·
      If yes, Name of court _ _ _ _ _ _ _ _ _ _Case number_ _ _ _ _ __




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    Wherefore, movant prays that the United States Court of Appeals for the Second Circuit
    grant an Order Authorizing the District Court to Consider Applicant' s Second or
    Successive Petition for a Writ of Habeas Corpus under 28 U.S.C. § 2254.




                                                             Movant's Signature


                                -                                                       ~~            ~
    I declare under Penalty of Perjury that my answers to all the questions in this ~ n are C)
    true and correct .                                                              --~ -,--:i (JI
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                    [date] '
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                                                             Movant' s Signature
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                                         PROOF OF SERVICE

    Movant must send a copy of this motion and all attachments to the attorney general of the
    state in which applicant was convicted.

    I certify that on   _MA/de
                          ___ _d~9+/~d-0~_/_9~-- -~• I mailed a copy of this motion*
                                    f{-~-_-
                             [date]

                   oMfJ:H-: Etltiy
    and all attachments to              at the following address:

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                                                               Movant' s Signature




*   Pursuant to FRAP 25(a), "Papers filed by an inmate confined in an institution are timely filed
    if deposited in the institution's internal mail system on or before the last day of filing. Timely
    filing of papers by an inmate confined in an institution may be shown by a notarized
    statement or declaration (in compliance with 28 U.S.C. § 1746) setting forth the date of
    deposit and stating that first-class postage has been prepaid."



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     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

    CAPTION:

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                                                                       Docket Number:         I 'J - Ifg-7
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 Name                                  Address                                 City '           State'      .?:ip Code


 Name                                  Address                                 City             State       Zip Code


 Name                                  Address                                 City             State       Zip Code

*A party must serve a copy of each paper on the other parties, or their counsel, to the appeal or
proceeding. The Court will reject papers for filing if a certificate of service is not simultaneously
filed.

**If different methods of service have been used on different parties, please complete a separate
certificate of service for each party.



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            Today's Da?e
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 Certificate of Service Form (Last Revised 12/2015)
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                                                               Ronald Ocasio #94a 5445
                                                               Green Haven Corr. Fae.
                                                               594 Rou te 216
                                                               Storm v ille, N. Y., 12582

                                                               February 20, 2019


Clerk of Court
u .s .   Court of Appeals
For the Secon d Circuit
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New York, N. Y. , 1 0007                                                          or-
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I N RE:     Ronald Ocasi o v. United St ates
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Dear Clerk of the Court:                                                        u">           N


         I am the p etitioner in the above-mentioned case. I now write you

submitting      an     original    and   2   cop ies   on   the      motion     for           an           order

authori z ing    the    District    Court    to   consider      a    suc ce ss i v e          or secon d

Habeas Corpu s app lication pursuant to 28             u. s . c .   §§ 2244 (b) ; 2255 .

          I thank y ou for your t ime and consideration on this matter .




                                                               Res p ectfully ,




                                                               Ronal d Ocas io




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                                  IN
                                  THE
                   UNITED STATES COURT OF APPEALS
                       FOR THE SEaJND CIRCUIT


Roruild Ocasio,

                         Petitioner,      Case No. 95- CR- 942 {DAB}
                                                                                    r->
           vs .                                                         C:
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U-Iiited States of America,                                                                  m
                                                                                             ( j
                         Respondent.                                                         f;1
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  MEMORANDUM OF LAW IN SUPPORT OF PROSE MOTION, PETITIONER., ·15                              0
            REQUEST TO FILE A SECOND OR SUCCESSIVE       ~       ~
                §2255 PETITION IN LIGHT OF THE           c.•1
                  SESSIONS V. DIMA.YA DECISION

     Now comes Ronald OCASIO , herein after "petitioner", pro

se, moving this Honorable Court to grant him permission to

file a second successive petit i on pursuant to 28          u.s . c .
§2255(h) . Petitioner asserts that the recent decision in
SeSSiohS   v . Dimaya,   138 S.Ct. 1204 {2018}, has affected the

validity of his current sentence and this court should grant

permission to file a second successive petition to vacate,

set-aside, or correct .

                              JURISDICTION

    In order fot petitioner to mo ve forward, he must make a
"prima facia" showing of a denial of a constitutional right .

    In ~olmsbii v . United States the Supreme Court

specifically stated that "[B}y Combining indeterminacy to
measure the risk posed by a crime wi th determihacy about how
much risk it takes for a crime t o qualify as a violate

offense the residual clause of 924(E)(2)(B } produces more


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unpredictability and arbitrariness than due process cla use

tolerates" {1 35      s .ct.   2251, 2258}. The Supreme Court

subsequently hel d that the Johiisbn decision anhounced a new

substa ntive rule that has retroactively ~ffected cases that

seek col lateral review (Welch v. U:Iiited states, 136              s.ct.
1257,    @   1265 [2016] ) .
    The supreme Court ' s decision in Dimaya : the 18              u.s.c. §
16(b) residual clause is unconstitutionally va~ue, which

p r oduces more " tihpredictability and arbitrariness than the

due process clause tolerates"          (Di iiia,ya,   Id.@ 1211 } . supreme

court held this particular case involves removal, §16(B) is a

criminal statute with criminal sentencing consequences , ~                     ,

Slipra at 1211 alsb 1217. The Dimaya decision has also

affected other statutes and guideline provi.s i ons. Petitioner

claims that Dimaya's decision has created the door through

which he may present his issues to thi.S Honorable court .

Petitioner is " Actually Innocent" of his conviction and

sentence because the residual clause of 18               u.s.c.   §16(B} i.s

" u.ncoristittitional " Under the Fifth Amendment's Due Process

Clause within the meaning of that statutory text as

interpreted by the Di.ma.ya decision . Petitioner contend that

the language Supreme Court found "unconstitutional" in Dimaya

is Similar language use in the statute in which he was

convicted of and sentenced to. After reviewing the facts of

this case , this Court should determine that petitioner has

made a   "prima fac.ia " showing of the deni al of a
constitutional right .
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                           PROCEDURAL HISTORY
     Petitioner assumes this Honorable Court is familiar with

the procedural history of this case, based on prior filings;

so, to avoid redundancy , he will opt not to pro\tide this

information here.



                           STATEMENT OF FACTS

     Ih October 1995 petitioner was indicted in the Southern

District of New York, charged with violating 18            u.s_c_    §§1961

and 1962 (racketeer ihfluence artd corrupt orgartization}~ 18

U.S.C. §1959 (VICAAR): 21 U.S.C. §846 (conspiracy to

distribute narcotics}; and 18       u.s.c.   §924(C}    (the use or

carry of a fitearm in furtherance of a crime of violence} .

     Petitioner was tried ort all counts before Honorable

Deborah A. Batts, of the southern District of New York, on
February 7, 1997 . The jury rendered a guilty verdict on all

counts .
     Irt July 1998 Petitioner was sentenced to life

imprisonment, a consecutive term of forty-five years

imprisonment, a five year term of supervised release, and a
mandatory six hundred and fifty dollars special assessment .

                             RELEVANT FACTS

     on June 26, 201s, in      JohnSon v. u-nit~d states,      the

supreme court held that the " residual clause " of 18           u.s.c.
§924 {E} {2) (B),   the armed criminal act (ACCA), is
"unconstittitiortally vague " ( 13 5 S.CT. 2551)- - a statute that

violated the Fifth Amendment's guarantee to due process . It


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 is within this decision that the court has finally noted that

 fair notices were being denied to defendants and thereby

inviting arbitrary enforcement by judges .

     Furthermore, the Johnson court also held that the process

by which court's classified prior convictions under ACCA ' s

residual clause was faulty , specifically in determining

whether a particular statute constituted a violent felony

under ACCA . This court's ruling has determined that courts'

examined only the statutory elements of the offense, not the

particular facts of a case . Under these standards , courts'

were required to picture the "ordinary case", meaning that

they had to evaluate whether the type of conduct the crime at

issue ordinarily involved, posed, in the abstract, a serious

risk of potential injury ( 255 7) . The Johnson court held that

this " ordinary case" inquiry was too " wide-ranging" and

"indeterminate", thus "denying fair notice to defenda..."lts and

invit[ing] arbitrary enforcement of judges . " This ruling

demonstrate why the two aspects of the residual clause's

categorical approach--the ordinary case determination and the

risk assessment approach-- "conspire" to make the c l ause

unconstitutionally vague (Id . 2 557 ) .

    Following the Johnson ruling, several federal Court of

Appeals have concluded that the residual clause in 18            u.s.c.
§16(B)   is void for vagueness , based on Johnson , because it

perfectly mitrors 18    u. s .c   §924(E)(2) (B) . Due to the Johnson

court ' s decision, Circuit courts ' have been split on the

issue , staying all motions on the matter-until, that is, the


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 Dimaya decision.

                          THE DIMAYA DECISION
     On April 17 , 2018 , in sessi on     v. pimaya, the Supreme
Court held the residual clause of 18 u.s_c_ §16(B) is

" unconstitutionally vague" ( 138 s_ct_ 1204} . In leaving- no

room for misunderstanding, this court held , " the question .in

this case is whether similarly worded clauses in a statute ' s

definition of ' crime of violence' suffers from the sa~e

constitutional defect adhering to out analysis in Johnson, we

hold that it does " Id . at ( 1211 } ~ " the difficulty comes in

§16's residual clause just as in ACCA ' s , from applying- such a
standard to a judge-imagined abstraction' , i . e . ,       ' an

ideal ized ordinary case of the crime" Id . at ( 1216}; and " it

is then that the standard ceases to work in a way consistent

with due proces s . Dimaya has now officially invalidated

§16(B) as 'unconstitutionally vague"' Id . at ( 1208} .
    Petitioner contends that 18 u_s_c_ §16 provides a generic

definition of the term " crime of violence" that is             reference
into his statute of conviction 18 u_s_c_ §1959 . By reference ,

and therefore has bought into question whether or not §1959

similar statutory language can be qualified as a " Crime of

Violence". Petitioner asserts the following facts in support

of his Dimaya claim.

                                  ISSUE
        1 . 18 U,S . C. §1959 IS NOT A CRIME OF VIOLENCE!
    18 u_s_c _ §1959 can not be qualified as a violent
offense . Because the term of " Crime of Violence" in §1959


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 statute is defined by reference to 18 U.S.C. §16, §1959 can

only be considered violent if i t falls with one of the two

definitions in 16(A)      or   (B). 18   u.s.c.   §16 defines the term

 "Crime of Violence" as follows:

     (A} An offense that has an element the use , attempted
use, or threatened use of physical force agai nst the persoh
or property of another ; or

     (B} Any other offense that is a felony and that, by it's
nature, involves a substantial risk that physical force
against the petson ot ptopetty of another may be used in the
course of committing the offense.


As established earlier , the 18 u_s.c. §16{B} clause has been

found to be unconstitutionally vague . Given this ruling,

therefore, §1959 can qualify as a "crime of violence" only

it falls within the "force" term in 18            u.s.c.   §16(A}.

    To determine whether a predicate offense qual ifi es as a

"crime of violence" under §1959, a court must use the

categorical approach (Descami)S v. United          States, 133 s_ct_
2276,   at   2283 [2013] } . This approach requires that courts

" look only to the statutory definiti ons--i . e ., the elements

of a defendant's (offense] and not to the particular facts

underlying {the offense ] in determining whether the offense

qualifies as a 'crime of violence'" (Descamps,@ 2283 ) .

    Under the categorical approac h , a prior offense can only

qualify as a " crime of violence" if all of the criminal

conduct is covered by a statute--"including the most innocent

conduct ", as is defined by the " crime of violence" definition

(rrnited states v. Torres-Miguel, 101 F.3a 16s, 167 [4th cir.
20121; see also    Moncriaffe v. ffoldet, 133 s.ct. 1685 c2013J--

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  quoting      Johnson   v.   United states,   5 59   u.s.   133, 137 c20101 )

  ( " Because we examine what the state conviction necessa rily

 involved , hot the facts widerlying the case, we must presume

 that the convictioh ' :tested tipori [ nothing] more than the

 least of th[eJ acts ' criminalized, and then determine whether

 even those acts ate encompassed by the generic federal

 offense ". ) If the most innocent conduct penalized by a

 statute does riot constitute a "ctime of violence" , then the

 statute categotit:ally fails to qualify as a "crime of
 violence".

       As a result , post - Descamps, it is cleat that for VICAR ,

 §1959 , to qualify as a "c:time of violence" under §16(A} •s

 fo:tce Clause the offense must have ah element of " physical

 fotce", and what this " physical force" means is a "violent

 fo:tce " - -that is , it is a "st:tong physical force" that is

" capable of causing physical pain ot inj u ry to another "

 (Jciliiison   v.   U:nited states, 599 u.s. 133,@ 140 c2010J ).
Violent cri~es in aid of racketeering, as drafted in

§1959(a) , does hot meet this tequitemeht because it cart be

accomplished by the most " innocent conduct", which is

" conspire ". Because "conspiracy" no longer qualifies as a

"crime of violence", §1959 suffers under the Dimaya

ptiht:iples and , the:tefore, Ca.hriot be qtialified as a "crime of
violence".

      Since petitioner was Charged with 18             u.s.c. §1959 ,   this

court must presume that his conviction " rested upon [ nothin g]

mo:te tha.h the least of th[eJ acts criminalized ... " (Johnson,


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 @   137) . Flirthermor e , the rule in such Situation is clear,

 " where a provision of the c onstituti on forbids conviction o n

 a partic:lilar grolind , the constitutional guarantee is violated

 by a general verdict that "may have " rested on the ground"
 (Griffi n v. U::rtited states, 502 u.s. 46, 53 [19911 ) .
        The Folirth Citcui t Concluded earlier in 2018 ,             that a

 conspiracy to commit VICAR Murder ih violation of 18                  u.s.c.
 §1959(a) (5) was hot a " crime of violence " even under the mote

 expahsive " guideline definition " of such term because

 " genetic " conspira cy requires an overt act and a §195 9 (a}(5}

 conspiracy does not , see U::rtited States v. McColl.en, 885 F.Jd

 300,    at   308- 309 {4th Cir. 2018). Quoting , Taylor        v.    Uttit ed

 States, 110 S.Ct. 2143 (1990) ~ applying the categorical
approa ch .




2. THE RESIDUAL CLAUSE IN §924 (Cl (3) (Bl IS UNCONSTITUTIONAL
VAGUE:

        Petitioner ' s conviction and sentence i nclude three
firearm c:olihts tha t were allegedly committed as " crime of

violence" acts, the tinder lying crimes being "violent crimes

in aid of racketeering" ( 18         u.s.c.   §1959 ) . As the Dirnaya ' s

decision has established, §1959 can no long-et qualify as a

" Crime of violence" a s defined by §924(C} . As a result ,

petitioner ' s sehterice can rib longer stand.

     18    u.s.c.   §924 criminalizes the use or carry of a firearm

"during and in relation to any crime of ·violent:e" --that

itself violates federal law . The reason why is quite simple:

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 the 18   u.s.c.   §924 statute defines "crime of violence" as a
 felony offense that either :

      (A} Has as an element the use, attempted use, or
 threatened use of physical force against the person or
 property Of another; ot

      (B} That by its nature involves a substantial risk that
 physical forte against the person or property of another may
 be used ih the course of committing the offense .

 Ih light Of this lahgtiage, section 1959, therefore, does not

 qualify as a "crime of violence" under the aforementioned

 clause . Violent t:times in aid of racketeering as defined in

§1959, despite the title of the statute , does n ·o t qualify as

a " crime Of violence" under §924(C} (3) (B} 's residual clause

because it is utic:onsti tutionally vague as i t " perfectly

mi:tro:ts" 18   u.s.c.   §16{B).

     Again, as noted in the Jcih.rison 's decision, the Supre.-ne

court held that the ACCA'S materially indistinguishable

residual clause was \roid for vagueness. Now, al though this

case was an ACCA one, Johnson's voiding for vagueness finding

applies with equal force to the residual clause in title 18

u.s.c.   §16(B). Fallowing the Johnson ' s decision, several

court of Appeal's have concluded that the residual clause in

§16(B} is void for vagueness, causing a split between the

circuit courts . Ih fact , the Supreme Court has treated

§16(B}, which is identical to §924(C}(3) (B) , as the

fundamental equivalent of ACCA ' s residual        ( Begay   v. united
States, 553 U.S . 137, 143 [2008] } {In discuss i on of ordinary

case analysis of relating to ACCA' s residual clause, citing

Leocai v. Ashcroft. 543 u.s.        r2009J}.
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        The government itself acknowledged the similarities

    between section 16 {B} , section 924, and ACCA . In the Johnson

    decision, the government stated that " (a)lthough section 16

    refers to the risk that forte wi l l be used rather than the

 injury will occur, it is equally susceptible to petitioner ' s

 central objection to the residual clause: like the ACCA ,

 section 15 requites a court to identify the ordinary case of

 the commission of the offense and to make a corttmoh sense

 judgment about the risk of confrontation and other violent

 offenses "    (Jt >hiison v.   v. United states , Sup_ ct. nm::.ket tro_
 13-7120 supplement brief of respondent, United States at 22-

 23, available at 2015 WL 1284964} .

       Now, in the Dimaya ' s decision, the supreme Court held,

 "the question in this case is whether . .. similarly worded

clauses in a statute ' s definition of 'crime of violence'

suffers fr om the same constitutional defect adher ing to our

analysis ih J"oliiisoii, we hold it does" (Id . §1211 ) . Forci.ng

this court's attention specifically on the Dimaya's decision,

the court held that "18          u.s.c.   §16(B} residual clause is

unconstitutional vague, as it produces more unpredictability

and atbittatiness than the due process clause tolerates "               (Id .

@   1211 } . In light of this opinion, it can now be contended

that the Dimaya's decision can be viewed as officially

invalidating 18      u.s.c.     §16(B} as unconstitutionally vague .

      According to the Dimaya ' s decision, several court of

Appeals' have recognized the constituti onality of 18             u_s.c.
§924(C){3){B) based on a conduct- specific approach . For


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 example , the First, Eleventh, and Second Circuits has opted

 to take this approach (United States v. Barrett. 903 F.3d 155
 [2018], petition for certification filed December 2018).

While, in other instances, other courts have found

§924(C) (3) (B) unconstitutionally vague (U:nited States v.

 sa1as,   889 F.Ja 681 (10th   cir.     2018); United   states y .
Eshatu,    898 F.Ja 36 (D.c. Cir. 2018); United         states v.    Davis,

903 F.Ja 483 (5th Cir. 2018); United         states cardena. 842       F_Ja
959 (7th Cir. 2016), as finding the subsection

unconstitutional; U:nited states v. DoUgl.as. 907 F.3d 1 {1st
Cir. 2018); and OValles v. United States, 905 F.3d 1231 [11th

Cir. 2018] ). Ultimately the Supreme Court will likely resolve

the issue concerning §924(C) (3) (B) ' s constitutionality due to

the developing circuit court split on the issue.

     The aforementioned courts' concession makes plain that

the residual clause in sections 924(C}(3),          t6(B),   and

924(E) (2) (B} contain the same constitutional defect: all

three sections require an analysis of the risk inherent in an

" ordinary case". Because the Supreme Court found ACCA's and

section 16(B) ' s residual clauses to be uncortstitutionally

vague , this court should determine that 924(c} is

' unconstitutional '   for it "alters the range of conduct or the

class of persons that the law punishes" . Furthermore this

court should follow the Court of Appeal ' s ruling on the

matter . When determining that section 924(C) (3} (B) residual

clause is unconstitutionally vague, this court should also

determine that §1959, as presented and incorporated herein,


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is not qualifiab le as a " crime of violence " for the purpose

o f §924(C) .
    3. THE TERM "PATTERN OF RACKETEERING ACTIVI TY" PRODUCES
    MORE UNPREDICTABILITY, ARBITRARINESS, AND IIIDETERMINACY
               THAN DUE PROCESS CLAUSES TOLERATES

     Petitioner contends that 18 u.s.c. §1962 is another

statute affected by the principle law of the Dimaya's

decision. Ih Dima.ya , the Su.p reme court held that " ... the

language in the residual clause of §16(B) is

'uhcohsti tu.tiortal' , for the doc tr .i_rte requires that a penal

statute defines the criminal offense with sufficient

defihitehess that ordina ry people c an understand what conduct

is prohibited and in a manner that does not encourage

arbitrary and dis er iminatory enforcement" (Kol.ender v,

Lawson, 461 u . s. 352, 357, 103 s.ct. 1855 C1983J )~ It is a

fundamental tenet of due process that " [ NJo one may be

required at petil of life, liberty, or property to speculate

as to the meahihg of penal statute" ( IT:Iiit ed States v.

Batchel der , 4 42 U.S. 114, 123 , 99 S.Ct. 2198 [1979] ) . This

principle applies to both crirnihal statutes and sentenci ng

provisions , for as the court previously noted, pattern of

racketeering activity " denies fair notice to defendants and

invites arbitrary enforcement by judges ".
    This "pattern of racketeering acti •.;ity" is ah essen.tial

element of any RICO case, which is defined as requi ring at

least two acts of racketeering activity within a ten year
period . This statute, as the court also noted, provi.des no

further clue to the meaning of "patte rn" . In H.Jr I nc . v- .


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Northwestern Bell Telephone, 4 92 u .s. 229, 109 s.ct. 2893
[19891 }, for example, the Supreme Court held that " [cJ ongress

intended a ' common-sense' approach to the pattern concept . "

This is the     same   "common-sense judgment" that has been found

defective ih the Dimaya's decision . Furthermore , the supreme

Court held that a " pattern of racketeering may be established

by showing that multiple predicate acts that,            (1) , were

related and ,    (2}, continued over a significant period in the

past , or threatened to continue ih the future (Id .           @   2899 } . A

four justice minority has criticized the "pattern" concept as

susceptible to indeterminacy grounds .
     Ih addressing the question, Justice Scalia has asserted :

"(w]heh §1961 (5} says that a 'pattern' requites as is

needful, but not sufficient . If that were not the case, the

concept of ' pattern ' would have been unnecessary and the

statute c ·o uld Simply have attached liability to ' multiple

acts ·o f racketeering activity', but what that somethi.ng more

is , is beyond me . As I have suggested, it is also beyond the

court "   (N"orthwest ern 0011 Telephone, Id. 2908} . Justice
Scalia, who was joined by Justices O'cohrter and Kennedy, and

by Chief Justice Rehnquist, plainly invited challenges to
RICO to be brought " No cons t i tut ion challenges to this l aw

has been raised in the present case, and so that i.ssue is not

before us . That the highest court of the land has been unable

to derive from the statute anything more than today ' s meager

guidance bodes ill for the day when the challenge is

presented" {Id . 2909 ) .

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     Uhder Dim.a.ya, the term "pattern of racketeering activity"

must be invalidated , because the term ihvi tes the very same

"arbitrary ehfotcemerit by judges" and " indeterminacy" that

Dimaya has found defective .
     The definition of " pattern of racketeering activity" in

the RICO statute, §§1961 ahd 1962 , is relevant in this case

because this definition is incorporated into petitioner's

count of conviction ,     18   u.s.c.   §1959. And the refore this

Hohorable court should grant petiti.oner permission to further

petition herei.n issues, extending the Dimaya principle of law

to the term "patterh of racketeerihg activity" here .

    4. A VIOLATION OF 21 U. S _C. §846 DOES NOT QUALIFY AS A
           "RACKETEERING ACTIVITY" FOR PURPOSE OF §1959

     18   u.s.c.   §1959, which is ofteh referred to as VICAR
statute (Vi.oleht crimes in Aid of Racketeering}, was enacted

to curtail the violent cri minal act i vi ty that i.s often

assoti.ated ~ith racketeering enterpri.se . The Second Circuit

has ihdi.Cated that the relationship between §1959 and the

substanti.ve RICO provisiohs requi.re that the VICAR provisions

be giveh the same liberal constituti on as RICO . Many of the

concepts i.nvolved in VICAR cases , such as definition of

" ehterprise" and "racketeering a c t i vity", hav e the same
meaning as in RICO cases . That is why RICO's term "pattern of

racketeering activity" i.s rele\rant here i n this case .

    Although §1959 has a separate provision defining the term

" e nterprise", it is intended to have the same me ani ng as a

RICO enterprise , so all of the case law d.iscussihg enterprise

in RICO is applicable to §1959 as well : § 1959 speci f i call y

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defines racketeering activity to include the l.ist of

predicate acts in 18     u_s.c_   §1961 (1). Therein lies the

question of "indeterminacy".
     In detetminihg the scope of the federal RICO statute the

court must first look a t     the statutory language (United

States v. Tu.rkette, 452 U.S. 576 [19811 } . The federal           RICO

s tatute defines "racketeering activity" with an exhaustive

l ist of federal crimes (see 18       u.s_c.   §1961(a)(B) - (G) ) .

Conspiracy to distribute controlled substance is not .included

ih this exha u s tive list of crimes (See 18       u.s.c.   §1961(1) ) ,

such ambiguous statutory langua ge, "in the absence of clearly

expressed legislative i ntent to the contraty ... must
ordinarily be regarded as conclusive"          (Ttirkette, Id.@ 580 } .

     While the federal RICO statute defines "racketeering

activity" t o includ e the felonies manufacture , imp·o rtation ,

r eceiving , concea lment , bliy.ing , selling ot oth erwi.se deali.rtg

with c ·o ntrolled substances . .. felonies punishable under

anywhere of the United States , 18       u.s.c.   §1961 (l) {E), a

conspiracy t o distribute controlled substance ih vi.olati.on of

fed eral laws does hot requited proof tha t        a defendant

manufa ctured , imported recei.ved , concealed , bought, sold, or

otherwise dealt with t bnt:tolle d substances (see 21          u.s.c.
§846) . Rather, the feder a l drug conspiracy statute simply

requires proof that the defendant solely agreed to accompli sh

an illegal objective and intended t o commit t he underlying

offense (Unit ed   states v . Labraoo-Bust amante ,     428 F.Zd 1 2s2,

1260 {9th Cir _ 2005)    (citation omitted} . In fac t, " (t]he


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government need not [even] prove the commission of any overt

act in furtherance of the conspiracy ... "          (Un i t e d S t ates v .

Shabani, 115 S . Ct . 38 2 (1993) ). For these reasons conspiracy

to distribute controlled substances in violation of federal

law is not " racketeering activity" as defined under the

federal RICO statute .

      The facts herein now bring into question as to whether o r

not the District Court had jurisdiction to convict petitioner

of VICar, where the element of a violation of interstate

commerce is a necessary element to be found by the jury, and

that question exists as to whether the jury found said

interstate commerce element in this case.            (It should be noted

that the jurisdiction nexis os interstate commerce is

questioned here as well, and that decision in Uni t e d State s

v . Vasquez , 2 67 F .3d 79 (2n d Cir. 2 001) , and       United States

v.   Par ks, 4 97 F. 3d 220 (2nd Cir. 2007) , will have an effect

on the outcome o f this case).

      If conspiracy to distribute controlled substance no

longer qualify as " racketeering activity" for purposes of

§1959 and §1961, than jurisdiction is in question. For in

J ohns on , the Supreme Court held that ACCA and §924(2) (B)

residual clauses is "unconstitutionally vague" ; and then in

Dimaya , they held that 18 U.S.C . §1 6(B) ' s residual clause is

also "unconst itutionally vague" . The question is whether the

principle law of Johnson and Dimaya apply to the parallel of

" or otherwise dealing in a controlled substance" definition

of 18 U. S.C . § 1961(1) ( E) . The answer is, yes. The otherwise


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dealing residual clause suffers from the same flaws that

compelled the Supreme Court to declare the 924(E) (2) (B) and

16(B) residual clause as " unconstitutional " as it produces

more unpredictability and indeterminacy than the due process
clause tolerates .

     In Dimaya , the Supreme Court held the same analysis as

set forth in Johnson , which held that the same analytical

process that 18 U . S . C . §16{B) demands for determining whether

a felony qualifies as a " crime of violence" result in

unpredictability, guesswork, and arbitrary enforcement .
Section 16{B) requires " a court to picture the kind of

conduct that the crimes involves in the ' ordinary case ' and

judge whether that ' abstraction ' presents a serious risk of

injury . but ' grave uncertainty' surrounds what constitutes
the hypothetical ' ordinary case'. " A court must also qualify

the risk of that " ordinary case " --the judicially imagined

ordinary case of certain enumerated offense in section 16 .

This too results in a wide ran ging inquiry, unbound by

predictability standards. Therefore, the residual clause is

" unconstitutional " and denies defendants due process . Since

18 U . S . C. §1961{1){E) requires the same "ordinary case"

inquiry review, i.e., trying to guess at what " otherwise

dealing" in controlled substance might mean, courts ' should

not apply this void for vagueness without violating due

process .

    Because §1959 does not require that the " enterprise"

engage in a " pattern of racketeering activity" there is no


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requirement that the government prove the predicate

activities were related and that they created a threat o f

continued activity as required in RICO cases. This fact

creates " uncertainty" and " contradictions " . Indeed, although

there is no case law discussing the question, it is not clear

from the language of the statute that the government must
prove more than one predi cate act.

     The definition of "pattern of racketeering activity" in

§1959 and §1961 invite such uncertainty and arbitrary

enforcement, and this court, therefore, should grant

permission to petitioner so he can further petition the

herein issues in the Distri ct Court .

     This Court should further consider petitioner issues to

be consistent with the purpose of the great writ . " It (The

Great Writ) is not and never has been a static, narrow,

formalistic remedy, its scope has grown to achieve its grand

purpose - the protection of individuals erosion of their

right to be free from wrongful restraints upon their liberty"

Sc hlange r    v . Seamans,   401 U.S. 487, 491 n. 5 (1971) . Thus, in

the Supreme Court ' s decision " constructing the reach of the

habeas statutes. "      [T]he court uniformly, has been guild by

the proposition that the writ should be made available to

afford relief and " has performed it ' s statutory task through

a sensitive weighing of the interested i mplicated by Federal

Habeas Corpus adjudication of constitutional claims, "

Ku hlmann     v . Wils on, 477 U . S. 436, 447 - 448 (1986) . While the
Antiterrorism and Effective Death Penalty Act has narrowed


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    the scope, of the writ, this Court should determine the

    weighing of the interest, in the context of petitioner ' s

    substantive rule and actual innocent claim, against t h e

    state ' s countervailing interest in finality is less

    compelling and the purpose of the great writ in preventing

    unjust confinement tips the scale. As such, this Cour t should

    grant pet itioner permission in order to further brief the

    " Constitutional Claims " . See, Montgomery v . Louisiana, 136

    S.Ct. 781@ 732 (2016) .

                                   CONCLUSI ON
        Petitioner contends that he has made a "prima facie "

    showing of a denial of a constitutional right. Additionally,

    he contends that he has also relied upon a substantive rule

    to substantiate his claims. Therefore, as is the remedy he

    seeks, his sentence must be decided in the first instance by

    the District Court . With that said, he prays that this

    Honorable Court grant him permission to file a second

    successive petition, as set forth in Session v . Dimaya, 138

    S.Ct . 1204 (2018) .   ~   also, Welch, Id. at 1265.

        I declare the aforementioned to be true and correct, to

    the best of my knowledge, under the penalty of perjury,

    pursuant to 28 U.S.C. 1746.

    DATED : February _J_Q_ , 2019
            Stormville, New York 12582
                                             Respectfully submitted,

                                                 g. Cle~
                                             Ronald Ocasio, Pro Se



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                                 PROOF OF SERVICE


          I certify that on     JO day    of Fe bruary 2019 I mailed a

     copy of this motion, and all attachments, to the following
     address;

                       United Sta tes Attorney ' s Office
                        Southern District of New York
                          Sylvio J . Mollo Building
                           One St . Andrew's Plaza
                             New York, NY 10007

         I declare that the aforementioned declaration to be true

     and correct, to . the best of my knowledge, under the penalty

     of perjury, pursuant to 28 U.S.C. §1746.



                                        Respectfully,



                                        Ronal d Ocasio
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                                UNITED STATE COURT OF APPEAL
                                   FOR THE SECOND CIRCUIT

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Ronald OCASIO,
                 Petitioner,                                      SUPPORTING DECLARATION OF
                                                                       RONALD OCASIO     -:::::                              ,y,
                                                                                                           't.!-,
         Vs.
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United States of America
                                                                  Docket No. 19-487                      ~c;c                 o
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            Respondent                                                                                    ,.._
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                                                                                                            C) ~-,     """°'CJ ~•t.:.
         I, Ronald OCASIO, declare the following .to be true and correct under penalty                        ~erJ*,
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                                                                                                                     v,,
                                                                                                                            c,.)
                                                                                                                                \-r,


pursuant to 28 U.S.C. Sec. 1746:

         (1) I am the petitioner in the above captioned action;

         (2) I make this declaration in support of my application to file a second or successive section

               2255 proceeding, based on a substantive rule to substantiate my claim,_ upon the recent

               decision in Session v. Dimaya, 138 S.Ct 1204 (2018), and the actual innocence of my

               conviction and sentence, which is ''unconstitutional" under the Fifth Amendment's due

               process clause within the meaning of that statutory test as interpreted by the Dimaya decision.

         (3) On February 20, 2019, I submitted an original and two copies of the above motion to the

               United States Court of Appeals for the Second Circuit, located at 40 Foley Square, New

               Yark, NY 10007.
                                                                                      (

         (4) On February 20, 2019, I submitted a copy of the above motion to the United States Attorney

               Office, Southern District of New York, NY 10007, attached with proof of services for the

               above party.

         (5) I further sought permission from the honorable court to grant appointment of counsel in order

               for petitioner to further brief the District Court on the denial of his constitutional rights:-

         (6) On March_ 6, 2019, I received, from the United States Court of Appeals, Second Circuit, two

               notices   of defective         filings,   one   missing   supporting       papers   for    motion           (e.g.
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     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

    CAPTION:

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